Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 1 of 10

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MAGISTRATE JUNE

04-20872 CA-GRAHAM “carer

CASE NO.
18 U.S.C. § 2332a(b)
18 U.S.C. § 876(c)
18 U.S.C. § 2
UNITED STATES OF AMERICA
Vv. , I
KENNETH R. WEST, vt
Defendant.
/
INDICTMENT
The Grand Jury charges that:
COUNTI

On or about July 22, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,
KENNETH R. WEST,
anational of the United States, did knowingly, without lawful authority, threaten the use ofa weapon
of mass destruction outside of the United States, as that term is defined in Title 18, United States
Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “Consul Division,
Foreign & Commonwealth Divisonal (sic) Office, 1 Palace Street, London, England SW1E SHE”;

in violation of Title 18, United States Code, Sections 2332a(b) and 2.

ee,
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 2 of 10

COUNT 2
On or about July 24, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,
KENNETH R. WEST,
a national of the United States, did knowingly, without lawful authority, threaten the use ofa weapon
of mass destruction outside of the United States, as that term is defined in Title 18, United States
Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “Metropolitan
Police, Office of the Commissioner, New Scotland Yard, Broadway, London, England SW1H OBG
United Kingdom”; in violation of Title 18, United States Code, Sections 2332a(b) and 2.
COUNT 3
On or about July 24, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,
KENNETH R. WEST,
anational of the United States, did knowingly, without lawful authority, threaten the use ofa weapon
of mass destruction outside of the United States, as that term is defined in Title 18, United States
Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “British Foreign
& Commonwealth Office, Consular Division, Consular Desk Officer, 1 Palace Street, London,
England SW1E 5HE, United Kingdom”; in violation of Title 18, United States Code, Sections
2332a(b) and 2.
COUNT 4
On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 3 of 10

KENNETH R. WEST,
a national of the United States, did knowingly, without lawful authority, threaten the use of a weapon
of mass destruction outside of the United States, as that term is defined in Title 18, United States
Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “Metropolitan
Police, Office of the Commissioner, New Scotland Yard, Broadway, London, England SW1H OBG,
United Kingdom”; in violation of Title 18, United States Code, Sections 2332a(b) and 2.

COUNT 5
On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,

KENNETH R. WEST,
anational of the United States, did knowingly, without lawful authority, threaten the use of a weapon
of mass destruction outside of the United States, as that term is defined in Title 18, United States
Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “Prisoners Abroad
Legal Service for British Nationals, I.A.—Executive Director, Attorney at Law, 89-93 Fonthill Road,
London, England N4 3JH, United Kingdom”; in violation of Title 18, United States Code, Sections
2332a(b) and 2.

COUNT 6
On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,

KENNETH R. WEST,
a national of the United States, did knowingly, without lawful authority, threaten the use of a weapon

of mass destruction outside of the United States, as that term is defined in Title 18, United States
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 4 of 10

Code, Section 2332a(c)(2)(C), namely, anthrax, in a communication addressed to “Foreign &
Commonwealth Office, Consular Division, Consular Desk Officer, 1 Palace Street, London, England
SWIE SHE, United Kingdom’; in violation of Title 18, United States Code, Sections 2332a(b) and
2.
COUNT 7

On or about July 22, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,
KENNETH R. WEST,
did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, acommunication addressed to “Consul Division,
Foreign & Commonwealth Divisonal [sic] Office, 1 Palace Street, London, England SW1E SHE,”
which communication contained a threat to injure persons there; in violation of Title 18, United
States Code, Sections 876(c) and 2.
COUNT 8

On or about July 24, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,
KENNETH R. WEST,

did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, a communication addressed to “Metropolitan
Police, Office of the Commissioner, New Scotland Yard, Broadway, London, England SW1H OBG,
United Kingdom,” which communication contained a threat to injure persons there; in violation of

Title 18, United States Code, Sections 876(c) and 2.
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 5 of 10

COUNT 9
On or about July 24, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,
KENNETH R. WEST,
did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, a communication addressed to “British Foreign
and Commonwealth Office, Consular Division, Consular Desk Officer, 1 Palace Street, London,
England SW1E SHE, United Kingdom,” which communication contained a threat to injure persons
there; in violation of Title 18, United States Code, Sections 876(c) and 2.
COUNT 10
On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,
KENNETH R. WEST,
did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, a communication addressed to “Metropolitan
Police, Office of the Commissioner, New Scotland Yard, Broadway, London, England SW1H OBG,
United Kingdom,” which communication contained a threat to injure persons there; in violation of
Title 18, United States Code, Sections 876(c) and 2.
COUNT 11
On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and
elsewhere, the defendant,

KENNETH R. WEST,
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 6 of 10

did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, acommunication addressed to “Prisoners Abroad
Legal Services for British Nationals, I.A. — Executive Director, Attorney at Law, 89-93 Fonthill
Road, London, England N43JH, United Kingdom,” which communication contained a threat to
injure persons there; in violation of Title 18, United States Code, Sections 876(c) and 2.
COUNT 12

On or about July 29, 2002, in Miami-Dade County, in the Southern District of Florida, and

elsewhere, the defendant,
KENNETH R. WEST,

did knowingly deposit in an authorized depository for mail matter and cause to be delivered by the
Postal Service, according to the directions thereon, a communication addressed to “Foreign and
Commonwealth Office, Consular Division, Consular Desk Officer, 1 Palace Street, London, England
SWI1E SHE, United Kingdom,” which communication contained a threat to injure persons there; in

violation of Title 18, United States Code, Sections 876(c) and 2.
Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 7 of 10

ADDITIONAL ALLEGATIONS

1. With respect to Counts 7-12 (Mailing Threatening Communications):
(a) the offense resulted in substantial disruption of public, governmental or business
functions or services; and
(b) the offense resulted in a substantial expenditure of funds to clean up,

decontaminate, or otherwise respond to the offense.

A TRUE BILL ao

PERSON

lS pede t

MARCOS DANIEL JIMENEZ
UNITED STATES ATTORNEY

Bort 2
JOHN C. SCHLESINGER
SISTANT UNITED STATES ATTORNEY

; Yh

' IAM WHITE
SSISTANT UNITED STATES ATTORNEY

Case 1:04-cr-20872-DLG Doquntred STATES oistridt_GéuRpcket 11/12/2004 Page 8 of 10

UNITED STATES OF amet p4. - 2 0,8.
vs

SOUTHERN Qs FLORIDA

ERTIF E TRI © ew Yeee siz:
KENNETH R. WEST, CERTIFICATE OF AL ATTORNEY ATE JUDGE
Defendant. GARBER , Let

Superseding Case Information:

Court Division: (Select One) New Defendant(s) Yes No —
Number of New Defendants ——.
_X. Miami —_ Key West Total number of counts ——_
— FTL -~— WPB — FTP
| do hereby certify that:
1. | have carefully considered the allegations of the indictment, the number of defendants, the number of
probable witnesses and the legal complexities of the Indictment/Information attached hereto.
2. | am aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act,
Title 28 U.S.C. Section 3161.
3. Interpreter: (Yes or No) No__
List language and/or dialec
4. This case will take —ii_._— days for the parties to try. . : \_
5. Please check appropriate category and type of offense listed below: 3 |
(Check only one) (Check only one) _- \
| 0 to 5days —__ Petty —_ .
I 6 to 10 days —_ Minor —_——_- 3
Hil 11 to 20 days —_xX_ Misdem. —__ 7
IV 21 to 60 days —_—__. Felony —_xX_° 3
Vv 61 days and over
6. Has this case been previously filed in this District Court? (Yes or No) —No___
es:
Judge: — Case No.
(Attach copy of dispositive order
das a complaint been filed in this matter? (Yes or No) No__
eS:
Magistrate Case No.
Related Miscellaneous numbers:
Defendants) in federal custody as of
Defendani(s) in state custody as of
Rule 20 from the District of
Is this a potential death penalty case? (Yes or No) —No_
7. Does this case originate from a matter pending in the U.S. Attorney's Office prior to
April 1,2003? x Yes 0
8. Does this case originate from a matter pending in the U. S. Attorney's Office prior to
April 1, 1999? Yes —_X— No
lf yes, was it pending in the Central Region? Yes No
9. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office prior
to October 14, 2003? Yes W—X_ No
10. Does this case originate from a matter pending in the Narcotics Section (Miami) prior to

May 18, 2003? Yes  — xX No

Florida Bar No. 788716

*Penalty Sheet(s) attached REV.1/14/04
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET

case 4 - 90 S72 ¢R-GRAHAM

Counts #: 1-6

Threatening the use of 2 weapon of mass destruction

Case 1:04-cr-20872-DLG Document 1 Entered on FLSD Docket 11/12/2004 Page 9 of 10

18 U.S.C. §§2332a(b) and 2

* Max.Penalty: Life imprisonment

Counts #: 7-12

Mailing threatening communications

18 U.S.C. §§ 876(c) and 2

*Max. Penalty: Five years' imprisonment

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
ae a

baD-34 No Ra J ad 2AM

raed wate

GARBER

7

aan District of — ... ELORIDA

,

vem

THE UNITED STATES OF AMERICA

vs.

| : } Kenneth R. West,
j ai
4 Co Defendant.
i Ly oft.
Fa.
be,

INDICTMENT

18 USC 8 2332a(b)
18 USC 8 876(c)
18 USC 8 2

A true bill.

UNITED STATES DISTRICT COURT... 4.2 pun%

FGJ # 03-03 (MIA) ih Foreman

v,
ee this “tt day,
of A.D, 2004

Case 1:04-cr-20872-DLG Document1 Entered on FLSD Docket 11/12/2004 Page 10 of 10

Bail, $

